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                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                     IN THE UNITED STATED BANKRUPTCY COURT                             June 26, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

IN RE:                                         §
                                               §      CASE NO: 24-31497
HUGH P. SHANNONHOUSE,                          §
                                               §
           Debtor.                             §
                                               §
                                               §      CHAPTER 7

                                         ORDER
                                  STRIKING PLEADING
                                   Resolving ECF No. 41


       The Motion for Relief from Stay filed by U.S. Bank Trust National Association1 is
hereby STRUCK for failure to attach a proposed Order pursuant to BLR 9013-1(h).

           SIGNED June 26, 2024


                                                     ________________________________
                                                             Eduardo V. Rodriguez
                                                      Chief United States Bankruptcy Judge




1
    ECF No. 41.
